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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                 §
                                       § Case No. 20-33948 (MI)
FIELDWOOD ENERGY LLC, et al.,          §
                                       § CHAPTER 11
            DEBTORS.                   §
                                       §
                                       §
******************************************************************************
 NOTICE OF CONTINUATION AND PERFECTION OF LIENS AND PRIVILEGES IN
              CERTAIN PROPERTY OF THE DEBTORS’ ESTATES
                        PURSUANT TO 11 U.S.C. § 546(b)

        Heartland Compression Services, L.L.C. (“Heartland”), appearing herein through

undersigned counsel, hereby provides written notice pursuant to 11 U.S.C. § 546(b) of the

continuation and perfection of interests in certain property of the estates of the Debtors

Fieldwood Energy, LLC, et al.1 (together, the “Debtors”), and in the proceeds, products,

offspring, rents, or profits of such property, and in support thereof, respectfully represents:

        1.      Prior to the filing of voluntary chapter 11 petitions by the Debtors on August 3,

2020 and August 4, 2020, Heartland provided rental equipment, goods, and associated services

to the Debtors in support of the Debtors’ digging, drilling, torpedoing, operating, completing,

maintaining, and/or repairing oil and/or gas wells in connection with the oil and gas leases listed

on the following page (collectively, the “Oil & Gas Properties”):




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC
(6778); Fieldwood Holdings LLC (9264); Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494);
Fieldwood Onshore LLC (3489); Fieldwood SD Offshore LLC (8786); FW GOM Pipeline, Inc. (8440); GOM Shelf
LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC
(1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary
mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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                   a. WEST CAMERON-66

                       Lease #:               OCS-G-01860
                       Area/Block:            WC-66
                       Adjacent Parish:       CAMERON


                   b. GALVESTON-210

                       Lease #:               OCS-G-25524
                       Area/Block:            GA-210
                       Adjacent Parish:       GALVESTON


       2.       Pursuant to the Louisiana Oil Well Lien Act, La. R.S. § 9:4861, et seq., Heartland

timely preserved and perfected its liens and privileges over each of the Oil & Gas Properties,

including but not limited to, the wells, buildings, pipelines, constructions, and other facilities

thereon, by filing the lien affidavits attached hereto in Exhibit 1 (the “Heartland Lien

Affidavits”):

                   a. WEST CAMERON-66: Recorded in Cameron Parish, State of Louisiana
                      (12/02/2020): File No. 348455. Attached hereto as Exhibit 1.

                   b. GALVESTON-210: Recorded in Galveston County, State of Texas
                      (12/17/2020): Instrument Number 2020081842. Attached hereto as
                      Exhibit 2.

       3.       In accordance with 11 U.S.C. § 546(b)(1), Heartland hereby perfects, maintains or

continues the perfection of and provides notice of intention to enforce its liens and privileges (the

“546 Interests”) in the Oil & Gas Properties, together with such other property described in the

Heartland Lien Affidavits and set forth in La. R.S. § 9:4861(12)(c) (collectively with the Oil &

Gas Properties, the “Encumbered Properties”), and provides notice of its intention to enforce

such liens and privileges with respect to such Encumbered Properties. The 546 Interests




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perfected, maintained, and/or continued hereby extend in and to the proceeds, products,

offspring, rents, or profits of such Encumbered Properties.

       4.      Heartland further provides notice that it objects and does not consent to (a) any

effort to prime its perfected 546 Interests against the Encumbered Properties or any other

property of Debtors’ estates; and (b) any use of cash collateral that is the proceeds of

hydrocarbons produced from the Encumbered Properties.

       5.      Heartland reserves the right to request relief from the automatic stay of 11 U.S.C.

§ 362, or any other appropriate relief, to enforce and defend its perfected 546 Interests against

the Encumbered Properties or any other property of the Debtors’ estates.

       6.      This Notice shall not be deemed an admission that any filing is necessary to

perfect or maintain perfection of the 546 Interests under the Bankruptcy Code, the Louisiana

Revised Statutes, or any other applicable law.

       7.      Heartland reserves the right to supplement or amend this Notice, including the

amounts owed and to itemize any further attorneys’ fees, costs, interest, or other amounts

recoverable under applicable law.

       8.      Heartland files this Notice without limitation or waiver of any rights, claims, and

defenses against Debtors, their bankruptcy estates, and any third parties.




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                                              Respectfully Submitted,


LUGENBUHL, WHEATON, PECK,                      /s/ Benjamin W. Kadden
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                                              Counsel for Heartland Compression Services,
                                              L.L.C.


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of December 2020, I filed the foregoing Notice of

Continuation and Perfection of Liens and Privileges in Certain Property of the Debtors’ Estates

Pursuant to 11 U.S.C § 546(b) via this Court’s Electronic Filing System and served same upon

all parties receiving electronic notice in the above-captioned matter.


                                              /s/ Benjamin W. Kadden




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